  Case: 1:09-cv-01845 Document #: 7 Filed: 05/27/09 Page 1 of 1 PageID #:10



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

JEFFREY HARTKE,                    )
                                   )
               Plaintiff,          )                          No: 1:09-cv-1845
                                   )                          Judge: Nordberg
     v.                            )
                                   )
AEGIS RECEIVABLES MANAGEMENT INC., )
                                   )
               Defendant.          )


    MOTION TO VOLUNTARILY DISMISS PURSUANT TO SETTLEMENT

       Plaintiff, JEFFREY HARTKE, by and through his attorneys, LARRY P. SMITH

& ASSOCIATES, LTD, requests this Honorable Court to enter an order dismissing this

case without prejudice and without costs to either party, and with leave for Plaintiff to

seek reinstatement within forty-five (45) days from the date of entry of this order.

       If this case has not been reinstated within forty-five (45) days from the date of

entry of a dismissal order, or a motion for reinstatement has not been filed by said date,

then Plaintiff requests that the dismissal order of this case shall automatically convert

from a dismissal without prejudice to a dismissal with prejudice.


                                              Respectfully Submitted,
                                              JEFFREY HARTKE

                                              By:     s/ David M. Marco
                                                    Attorney for Plaintiff


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